     Case: 22-2084   Document: 10        Filed: 07/27/2022     Pages: 63


                 UNITED STATES COURT OF APPEALS
                     FOR THE SEVENTH CIRCUIT
                       _________________________
                          Appeal No. 22-2084
                    (Case No. 16-CV-712 (E.D. Wis.))
                      __________________________


JOHNNY JEROME JONES,

               Petitioner-Appellant,

    v.

REED RICHARDSON,

               Respondent-Appellee.
                       ________________________

                  Appeal From a Final Judgment Denying
             Petition for Writ of Habeas Corpus and the Order
                Entered in the United States District Court
                    for the Eastern District of Wisconsin,
                 the Honorable Brett H. Ludwig, Presiding
                          _________________________

                     SUPPLEMENTAL APPENDIX
                     OF PETITIONER-APPELLANT
                      ___________________________



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      Case: 22-2084   Document: 10     Filed: 07/27/2022   Pages: 63


                         TABLE OF CONTENTS

Decision of the Wisconsin Court of Appeals……………………………………………...101

Oral Ruling of the Milwaukee County Circuit Court………………….…………..……110

Excerpts of Transcript of Proceedings on August 24, 2011…………………………….116
Johnny Jerome Jones v. Reed Richardson,                                 Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                     Filed: 07/27/2022         Page63
                                                                                Pages:   204 of 992




              COURT OF APPEALS
                  DECISION                                                  NOTICE
               DATED AND FILED                              This opinion is subject to further editing. If
                                                            published, the official version will appear in
                                                            the bound volume of the Official Reports.
                     March 24, 2015
                                                            A party may file with the Supreme Court a
                        Diane M. Fremgen                    petition to review an adverse decision by the
                     Clerk of Court of Appeals              Court of Appeals. See WIS. STAT. § 808.10
                                                            and RULE 809.62.




         Appeal No.         2014AP342-CR                                             Cir. Ct. No. 2010CF000069

         STATE OF WISCONSIN                                             IN COURT OF APPEALS
                                                                             DISTRICT I


         STATE OF WISCONSIN,

                          PLAINTIFF-RESPONDENT,

                V.

         JOHNNY JEROME JONES,

                          DEFENDANT-APPELLANT.




                          APPEAL from a judgment of the circuit court for Milwaukee
         County: DAVID L. BOROWSKI, Judge. Affirmed.

                          Before Curley, P.J., Brennan, J., and Thomas Cane, Reserve Judge.

                ¶1        BRENNAN, J.            Johnny Jerome Jones appeals from an amended
         judgment of conviction entered after he pled guilty to one count of homicide by
         negligent operation of a motor vehicle, one count of hit and run resulting in death,
         and one count of hit and run resulting in great bodily harm. He argues that he




                                                    101
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 204 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                          Filed: 07/27/2022         Page63
                                                                                     Pages:   205 of 992



                                                                                           No. 2014AP342-CR




         unequivocally invoked his right to counsel during a custodial interrogation, and
         that therefore, the circuit court erred in denying his motion to suppress the
         confession he gave to police subsequent to his alleged invocation.1 Because we
         conclude, upon reviewing the circuit courts findings, and listening to the audio
         recording of the police interrogation, that Jones did not unequivocally request
         counsel when he jokingly said, So yall can get a public pretender right now?,
         we affirm.

                                                     BACKGROUND

                ¶2        On January 8, 2010, the State filed a criminal complaint, charging
         Jones with one count of second-degree reckless homicide, one count of duty upon
         striking an occupied or attended vehicle resulting in death, and one count of duty
         upon striking an occupied or attended vehicle resulting in great bodily harm. The
         complaint arose from incidents occurring on December 31, 2009.

                ¶3        According to the complaint, Milwaukee police officers observed a
         Mercury Mountaineer that was missing a front license plate.                        The officers
         followed behind the Mountaineer, which was owned by Joness wife, and
         activated the police cars emergency lights. The Mountaineer accelerated and
         proceeded through an intersections stop light and struck another vehicle, resulting
         in the death of the passenger in the struck vehicle.



                1
                    Although a guilty plea generally waives all nonjurisdictional defects and defenses,
         there is an exception which permits appellate review of orders denying motions challenging the
         admissibility of a defendants statement. WIS. STAT. § 971.31(10) (2013-14); County of Racine
         v. Smith, 122 Wis. 2d 431, 434-35, 362 N.W.2d 439 (Ct. App. 1984).

                    All references to the Wisconsin Statutes are to the 2013-14 version.




                                                           2


                                                     102
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 205 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                                     Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                         Filed: 07/27/2022         Page63
                                                                                    Pages:   206 of 992



                                                                                          No. 2014AP342-CR




                 ¶4        After the complaint was filed, Jones turned himself in to the police
         and told police that he was the Mountaineers driver at the time of the accident.
         Milwaukee Police Detectives James Hensley and David Chavez questioned Jones
         about the December 31, 2009 accident. An audio recording of that interrogation
         was played at the motion to suppress. During the interrogation the following
         exchange took place:

                           DETECTIVE: You see the thing is, Johnny, is no one can,
                           no one can speak for you. No one else, no witnesses, no
                           one that was there.

                           JONES: I know.

                           DETECTIVE: We cant, nothing like that.

                           JONES: I just feel so damn horrible.

                           DETECTIVE: Well and thats, and thats why its
                           important to get your side out.

                           JONES: So yall can get a public pretender right now?[2]

                           [LAUGHTER]

                           DETECTIVE: You said it right, pretender . . . theyre
                           called public defenders.

                           JONES: Oh yeah.

                           DETECTIVE: Um, we, obviously due to the time right
                           now, we cant, um . . .[3]


                 2
                   The circuit court explicitly found that Jones said, So yall going to get a public
         pretender right now?, rather than, So yall can get a public pretender right now? (Emphasis
         added.) On appeal, Jones argues, and the State agrees, that the audio recording reveals that Jones
         says, So yall can get a public pretender right now? (Emphasis added.) Our analysis remains
         the same under either interpretation of the audio recording; as such, we use the version agreed
         upon by the parties on appeal.
                 3
                     Detective Hensley testified at the suppression hearing that the interrogation began at
         1:18 a.m.




                                                          3


                                                    103
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 206 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                                   Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                       Filed: 07/27/2022         Page63
                                                                                  Pages:   207 of 992



                                                                                   No. 2014AP342-CR



                         JONES: How, how much, how much time is it anyway,
                         you face off of reckless homicide?

                         DETECTIVE: Well its, I believe its between the max is
                         15 years, I believe. Now Im not, dont quote me on that,
                         but . . .

                ¶5       Jones filed a pretrial motion, seeking to suppress the statements he
         made to Milwaukee police detectives. At the motion to suppress hearing, Jones
         argued that his statement should be suppressed because, after he was read his
         Miranda rights,4 he unequivocally invoked his right to counsel by stating, yall
         can get a public pretender right now?                Detective Hensley testified at the
         suppression hearing that he knew public pretender meant an appointed attorney
         and that Jones was referring to an attorney. Thereafter, Jones was asked if he
         recalled telling the detectives that yall can get me a public pretender right now,
         and Jones responded, Yes. Because we made a joke. They made a joke right
         after that about it. Jones then testified that by saying public pretender he meant
         a lawyer.

                ¶6       After listening to the testimony and to the audio recording of the
         detectives interrogating Jones, the circuit court denied Joness motion to suppress,
         concluding that Joness request was not unequivocal. The circuit court found that
         Joness reference to a public pretender was made in sort of a joking manner,
         with a question mark at the end, and that Jones and the two detectives laughed
         about the comment after it was made. The court stated: Clearly, again to my
         ears, Mr. Jones and the detectives, all three of them were laughing at his comment
         about a public pretender. It was thrust and parry. It was not an unequivocal



                4
                    See Miranda v. Arizona, 384 U.S. 436 (1966).




                                                        4


                                                  104
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 207 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                               Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                   Filed: 07/27/2022         Page63
                                                                              Pages:   208 of 992



                                                                                No. 2014AP342-CR




         request. The court further noted Joness experience in the criminal justice system
         and with being interrogated.

                ¶7     Subsequently, Jones pled guilty to homicide by negligent operation
         of a motor vehicle, hit and run resulting in death, and hit and run resulting in great
         bodily harm. The circuit court sentenced Jones to ten years (five years of initial
         confinement and five years of extended supervision) for homicide by negligent
         operation of a motor vehicle, seven years (five years of initial confinement and
         two of years extended supervision) for hit and run resulting in death, and eight
         years (five years of initial confinement and three years of extended supervision)
         for hit and run resulting in great bodily harm, all to be served consecutively.

                ¶8     Jones appeals the circuit courts denial of his motion to suppress.

                                               DISCUSSION

                ¶9     Joness argument before this court is two-fold. First, he argues that
         the circuit courts factual findings following the suppression hearing are clearly
         erroneous; second, he contends that the record shows that he unequivocally
         invoked his right to counsel when he allegedly asked for a public pretender.
         Because we conclude that the circuit courts findings of fact are not clearly
         erroneous and because those facts demonstrate that Joness statement regarding a
         public pretender was not an unequivocal request for counsel, we affirm.

         I.     The circuit courts factual findings are not clearly erroneous because
                they are supported by the audio recording of Joness police
                interrogation.

                ¶10    The circuit court found that during the police interrogation, Jones
         stated, so yall going to get a public pretender right now, in sort of a joking
         manner, and then was laughing at this comment with the detectives. Jones


                                                    5


                                              105
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 208 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                          Filed: 07/27/2022         Page63
                                                                                     Pages:   209 of 992



                                                                                             No. 2014AP342-CR




         contends that an examination of the audio recording in this case does not support
         the circuit courts findings. We disagree.

                 ¶11     The circuit courts findings on a suppression motion must be upheld
         unless they are clearly erroneous. WIS. STAT. § 805.17(2). A finding is clearly
         erroneous if it is unsupported by evidence in the record. See Royster-Clark, Inc.
         v. Olsens Mill, Inc., 2006 WI 46, ¶11, 290 Wis. 2d 264, 714 N.W.2d 530. Any
         conflicts in the evidence will be resolved in favor of the circuit courts ruling.
         State v. Flynn, 92 Wis. 2d 427, 437, 285 N.W.2d 710 (1979).

                 ¶12     We have reviewed the audio recording submitted into evidence and
         conclude that it supports the circuit courts findings that Joness reference to a
         public pretender was made in sort of a joking manner, and that Jones was
         laughing at this comment with the detectives. Jones believes that the audio
         recording reveals that his tone was non-descriptive and that it is not possible to
         tell from the recording who laughedMr. Jones or the officers. We disagree. A
         reasonable interpretation of the audio recording is that Jones made the statement
         with a joking tonehis reference to a public pretender, rather than a public
         defender, reveals as much. And laughter from three different individualstwo
         detectives and Jonescan be reasonably inferred from the recording. In short, the
         circuit courts findings are not clearly erroneous.5




                 5
                   Jones also argues that the circuit courts finding that Jones said, So yall going to get a
         public pretender right now?, was erroneous. (Emphasis added.) However, as we previously
         explained, Jones and the State agree on appeal that Jones said, So yall can get a public
         pretender right now? See supra fn.1; (emphasis added). As such, we accept the latter statement
         as true and need not examine whether the circuit court erroneously exercised its discretion in
         finding otherwise.




                                                           6


                                                    106
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 209 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                               Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                   Filed: 07/27/2022         Page63
                                                                              Pages:   210 of 992



                                                                                No. 2014AP342-CR



         II.    Joness joking statement, So yall can get a public pretender right
                now?, was not an unequivocal request for counsel.

                ¶13    Next, Jones argues that even if we conclude that the circuit courts
         findings of fact were not erroneous, the facts found by the circuit court do not
         support its conclusion that Joness reference to a public pretender was not an
         unequivocal request for counsel. Whether the facts found by the circuit court
         warrant suppression of Joness statement is a question of law that we review
         de novo. See State v. Drew, 2007 WI App 213, ¶11, 305 Wis. 2d 641, 740 N.W.2d
         404.

                ¶14    To invoke the Fifth Amendment right to counsel, a suspect is
         required to articulate his desire to have counsel present sufficiently clearly that a
         reasonable police officer in the circumstances would understand the statement to
         be a request for an attorney. See State v. Jennings, 2002 WI 44, ¶30, 252
         Wis. 2d 228, 647 N.W.2d 142 (quoting Davis v. United States, 512 U.S. 452, 459
         (1994)). Such a request must be unambiguous[ ]. Davis, 512 U.S. at 459. A
         mere reference to an attorney is not sufficient to invoke the right. See Jennings,
         252 Wis. 2d 228, ¶31. For example, statements like, [m]aybe I should talk to a
         lawyer, [are] not ... clear and unequivocal request[s] for counsel. Id. (quoting
         Davis, 512 U.S. at 462).      Unless [a] suspect actually requests an attorney,
         questioning may continue.      Id. (quoting Davis, 512 U.S. at 461; emphasis
         added).

                ¶15    Here, Jones did not unequivocally request counsel. The circuit court
         found that Joness statementSo yall can get a public pretender right now
         was made sort of with a question mark at the end of it, and he says it in a sort of a
         joking manner. To my ears, he and the two detectives were laughing at this
         comment. It was said in a tone that was, in my view, not particularly serious from


                                                    7


                                              107
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 210 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                                Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                    Filed: 07/27/2022         Page63
                                                                               Pages:   211 of 992



                                                                                 No. 2014AP342-CR




         Mr. Jones. A joking reference to a public pretender is ambiguous by its very
         nature. The joking nature of Joness statementsupported by the circuit courts
         finding that Joness tone was joking and that Jones and the detectives laughed
         about the commentas well as the content of Joness statementthat is, his
         reference to a public pretender, rather than a public defenderwould not lead
         a reasonable police officer in the circumstances [to] understand the statement to
         be a request for an attorney. See Jennings, 252 Wis. 2d 228, ¶30 (citation
         omitted). We agree with the circuit court that Jones was joking around with the
         officers and that the statement was part of the thrust and parry between the
         detectives and Jones.

                   ¶16   Our conclusion that Jones did not unequivocally request counsel is
         further supported by the fact that after police told Jones that they could not obtain
         counsel for him at that time because of the time of day, Jones asked the detectives,
         How, how much, how much time is it anyway, you face off of reckless
         homicide?       It seems unlikely that Jones would voluntarily continue his
         conversation with the detectives without prompting if he had been sincerely
         requesting counsel.

                   ¶17   At best, the tone and content of Joness statement, So yall can get a
         public pretender right now?, as well as Joness immediate question to police
         following their explanation that a public defender could not be obtained at that
         time of day, would only have led a reasonable officer to believe that Jones might
         be invoking the right to counsel. See Davis, 512 U.S. at 459. But that is not
         enough to require the detectives to cease their questioning. See id. As such, we
         affirm.




                                                     8


                                               108
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 211 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                          Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10              Filed: 07/27/2022         Page63
                                                                         Pages:   212 of 992



                                                                          No. 2014AP342-CR




                    By the Court.Judgment affirmed.

                    Not recommended for publication in the official reports.




                                               9


                                         109
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 212 of 250 Document 8-2
Johnny Jerome Jones v. Reed Richardson,                     Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10         Filed: 07/27/2022         Page63
                                                                    Pages:   430 of 992




         1     Supreme Court did in this Jennings case.
         2                   And Detective Hensley indicated by public
         3     pretender that I knew he meant a lawyer, that's not the
         4     analysis.   That's apples and oranges.      The question is,
         5     is it an unequivocal request for a lawyer, not whether he
         6     knew by the term "public pretender" that he is . referring
         7     to a public defender.      Yeah, he analyzed that just like
         8     anybody looking at it would, but that's not the question.
         9     The question is, is it an unequivocal request for an
        10     attorney under the Miranda series of cases and it simply
        11     is not and that's all I have.
        12                   THE COURT:    Thank you.

        13                   For the record, as indicated, I did review
        14     the brief s that were submitted by both sides .       I al so
        15     reviewed t he case law in Wisconsin i ncl uding the Jennings
        16     case.   Beyond that I reviewed the Markwardt decision,
        17     along with the Fischer case.
        18                   I will note, first of all, that i n the

        19     argument presented by both sides, there's a disagreement
        20     between the State and the defense as to what was exactl y
        21     said.   And i t's important in the Court's analysi s
        22     because, beyond reading the Wisconsin cases, I spent a
        23     bit of time yest erday, had a law clerk assist me with
        24     some additional research on some cases at the federal
        25     level that also discuss the request for an attorney and

                                             -7-


                                       110
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 180 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   431 of 992




         1     whether or not a defendant's statement or request for
         2     counsel is unequivocal.
         3                   And I think it is irrportant in my analysis
         4     to put this in context and to be very careful about
         5     exactly what was said by the defendant,          The defense
         6     argues that Mr. Jones said, "y'all can get me a public
         7     pretender now" .   The State argues that the defendant said
         8     "so y'all going to get a public pretender right now."
         9                   And there is a difference.         I've :istened to
        10     that portion of the CD at least half-a-dozen times.            The
        11     defendant clearly says "so y'all going to get a public
        12     pretender right now."      He does not say, "you all can get
        13     me a public defender now."       And he says it clearly in
        14     what I interpret to be effectively a joking tone.
        15                   To my ears, and I listened to the CD many
        16     times, he makes the comment, so y'all going to get a
        17     public pretender right now, sort of with a question mark
        18     at the end of it, and he says it in a sort of a joking
        19     manner.   To my ears, he and the two detectives were
        20     laughing at thi s comment.      It was said in a tone that
        21     was, in my view, not particularly serious from Mr. Jones.
        22     It was answered by the detective as pretty much a long the
        23     lines you said it right "pretender", with a very short
        24     pause, they are called public defenders.          And the
        25     defendant says, oh, yeah, or something to that effect.

                                             - 8-


                                       111
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 181 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                     Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10         Filed: 07/27/2022         Page63
                                                                    Pages:   432 of 992




         1                    The detective says due to the time right
         2     now, we can't pause this for a short period of time.          The
         3     defendant then continues and asks the question of how
         4     much time can I get for this any ways; how much do I face
         5      for this homicide.   The detective then goes on and says
         6     he believes it's 15 years but don't quote me on that and
         7     it goes on from there.
         8                    Very shortly before the comment about a
         9     public pretender was made, the defendant was read his
        10     rights; he understood them; he waived them, and,
        11     approximately, a minute earlier, maybe less than that, he
        12      says he was willing to answer questions and something to
        13     the effect of I want to -- I want to real bad.         In other
        14     words, he allegedly wanted to answer the questions badly.
        15                     I had the law clerk do a little research on
        16     the issue of public pretender.      She could not find or
        17     could I in a case that discusses that slang term or that
        18      joking term   or that derogatory term, which is used
        19     cormnonly by scme defendants, by some people that are
        20     being charged in the criminal justice system,
        21     occasionally by people that are being interrogated.          And
        22      I do believe that the detective knew that public
        23     pretender meant public defender.
        24                    Mr . Jones is someone who, frankly, does have
        25     experience in the criminal justice system.        This was not

                                             -9-


                                       112
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 182 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                    Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10        Filed: 07/27/2022         Page63
                                                                   Pages:   433 of 992




         1     the first time he had been involved in the criminal
         2     justice system.   It appears it was certainly not the
         3     first time he was being interrogated.      And, in my view,
         4     he was specifically along the lines of what the State
         5     argued as part of the "thrust and parry" between the
         6     detectives and the defendant using his term; a slang,
         7     derogatory, joking fashion.    It was meant to be used in a
         8     slang fashion.    It was meant to be derogatory.      It was
         9     meant to be insulting to the capabilities or lack thereof
        10     of public defenders.
        11                   And the analysis of what he said is also
        12     important because, in looking at the Wisconsin decisions
        13     and some federal cases, the State is correct.        Obviously,
        14     the long line of cases, both at the federal level and the
        15     Wisconsin courts after the Miranda decision, make it
        16     clear that the defendant, as someone being interrogated
        17     as Mr. Jones was, needs to make his request in
        18     unequivocal fashion.    He needs to articulate his request
        19     for an attorney clearly.
        20                   There's a line of cases that are cited in
        21     U.S. v. Peters which is in the 7th Circuit 2006, where

        22     they quote a whole line of cases and indicate the nature
        23     of so-called requests that are not clear; requests that
        24     are equivocal, requests that are not unequivocal,
        25     statements that do not rise to t he level of the

                                          - 10-


                                      113
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 183 of 742 Document 8-3
     Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
     No. 16-C-712
             Case:(E.D. Wis.)
                    22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                           Pages:   434 of 992
..   .·(

     ,,,i




               1     unequivocal requests.     And those incl ude comments like
               2     maybe I should talk to a lawyer; that was held to be
               3     ambiguous.    Comments like I might want to talk to an
               4     attorney could be ambi guous.          The question along the
               5     lines do you think I need a lawyer could be ambiguous .
               6     Comnents like I'm not sure if I shoul d say anything or I
               7     may need somebody I can talk to have all been held
               8     ambiguous rather than a clear assertion of the right to
               9     reniai n silent, rather than a clear invocation of the
              10     defendant's request for an attorney.
              11                    Both sides cited accurately that under the
              12     circumstances when this issue arises on the request for
              13     an attorney or the invocation of one's right to counsel,
              14     as both sides indicated, does not have to be arti culated
              15     in any specific language; does not have to be overly
              16     formal.    But it does have to be clear to a police of ficer
              17     who, under the circumstances, would understand t hat
              18     statement was an invocation of the right to remai n
              19     silent .
              20                    And it's also clear that if the suspect, if
              21     the person in Mr. Jones' situation, does not
              22     Wlarnbiguously invoke his right to counsel, h is right to
              23     remain silent, .the police do not need to cease their
              24     questioni ng of the suspect and, obvi ously, they did not
              25     cease their questioning in t his case .

                                                   -11-'-


                                             114
            Case 2:16-cv-00712-BHL Filed 08/22/16 Page 184 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                     Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10         Filed: 07/27/2022         Page63
                                                                    Pages:   435 of 992




         1                     The bottom line is I do not believe this was

         2     an unequivocal request under the circumstances.          I think

         3     that this defendant, Mr. Jones, was j oking aroW1d with

         4     the officers.     He and they laughed to my ears at his

         5     derogatory, slang phrase, this insulting phrase about

         6     public defenders.     I think this was a situation whe~e he

         7     was, if there was any request, whatsoever, I'm not sure

         8     that there was, it was very equivocal.        It was certainly

         9     not an unequivocal request.      It was part of the thrust

        10     and parry, which is indicated by the context and the

        11     circumstances, including that very, very shortly before

        12     this comment, which beyond what I've said already, was

        13      said in almost a rhetorical kind of odd fashion.

        14                     Clearly, again to my ears, Mr. Jones and the

        15     detectives, all three of them were laughing at his

        16     comnent about a public pretender.       It was thrust and

        17     parry.   It was not an unequivocal request.

        18                     The State has met their burden in this case.

        19     The motion to suppress the statement is denied on this

        20     ground and on the grounds that we dealt with last week.

        21     Based on that, I p res ume we're going forward to trial.

        22     The trial is in ten days.

        23                     Is there anything else we need to discuss

        24     before we calendar accordingly, gentlemen?

        25                     MR. STINGL:   Two things from the State.      One

                                             -12-


                                       115
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 185 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                           Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10               Filed: 07/27/2022         Page63
                                                                          Pages:   345 of 992




         1                        MR. JENSEN:      No, sir.
         2                        THE COURT:    Received.
         3                        THE WITNESS: ·    James Hensley; J-a-m-e-s,
         4     H-e-n-s-1-e-y~
         5                             DIRECT EXAMINATION

         6   BY MR. STINGL:

         7         Q      Detective Hensley, who is your empl oyer?
         8        A       The city of Milwaukee Police Department.
         9         Q      You're a police detective?
        10        A       I am.

        11         Q      What is your current assignment?
        12        A       I am assigned to the metropolitan division,

        13   late-shift homicide Lillit.
        14         Q      What is the homicide unit?
        15        A       Our primary job is to investigate homicides and
        16   any critical incidents that happened in the city of
        17   Milwaukee.
        18         Q      How long have you been in t he homicide unit?
        19        A       Approximately, six years.
        20         Q      How long have you been a detective?
        21        A       About eight-and-a-hal f years.
        22         Q      Prior to that were you a uniform officer?
        23        A       Yes.
        24         Q      So how long altogether have you been wit h the
        25   Milwaukee Police Department?

                                                 -5-


                                           116
      Case 2:16-cv-00712-BHL Filed 08/22/16 Page 95 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                     Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10         Filed: 07/27/2022         Page63
                                                                    Pages:   346 of 992




         1        A      About 15-and-a-half years.
         2           Q   In tenns of a police officer and becoming a
         3   police detective, did you receive any specialized training
         4   in the area of the interrogation of persons who are in
         5   custody?
         6        A      Yes.
         7           Q   What type of training did you personally receive?

         8           A   I went to a four-day seminar on the Ried
         9   interview technique.     I also went to a one-day seminar hel d
        10   in Madison.    There was also some training regarding
        11   interviews during detective           or new detective training
        12   once I was promoted.

        13           Q   And, in terms of your promotion to detective , was
        14   that the first training you received regarding
        15   interrogation of persons in custody or did you receive some
        16   as a police officer?
        17           A   Yes.   Well, in the academy, they gave us a basic
        18   training for interviewing in custody.
        19           Q   And that was the academy of training to become a
        20   police officer?
        21         A     Yes.

        22           Q   And, again , as the detective you received
        23   training regarding your promotion to detective in that
        24   area?
        25         A     Yes.

                                             -6-


                                       117
      Case 2:16-cv-00712-BHL Filed 08/22/16 Page 96 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   347 of 992




         1        Q     And the seminars that you discussed, did that

         2   occur after you became a detective, the Ried training, the
         3   four-day training and the other one-day training?
         4        A     Yes.
         5         Q    And did all of that occur prior to January 18th
         6   of 2010?
         7        A     Yes, it did.
         8         Q    Now, in terms of such interviews, how many
         9   interviews as a detective have you conducted regarding
        10   persons who are in custody?
        11        A     It's hard to put a number on that, certainly
        12   hundreds, several hundred.
        13         Q    And, in terms of your role as a homicide
        14   detective, is that a standard part of your activities i n
        15   investigating homicides?
        16         A    Yes, it is.
        17         Q    In terms of how often you perform such interviews
        18   on a weekly basis, when you're on duty as a homicide
        19   detective, what would you state in terms of how often that
        20   occurs?
        21         A    It' s pretty hard to put it in that category as
        22   far as weekly.    Because, obviously, based on when a suspect
        23   is brought into custody, we may go for a week or two
        24   without talking to anyone.      But then we may go, you know,
        25   the following week we may talk to four, five people in a

                                             - 7-


                                       118
      Case 2:16-cv-00712-BHL Filed 08/22/16 Page 97 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   348 of 992




         1   matter of two or three days.       So I guess if you had to
         2   probably throw a number at it, I would say twice a week
         3   would probably be a good number.

         4         Q      Did you have an opportunity to become involved in
         5   interviewing a person by the name of Johnny J. Jones on or
         6   about January 18th of 2010?
         7        A       Yes.
         8         Q      Did you have a partner during that interview?
         9        A       I did.   Detective David Chavez.
        10        .Q ·    And he is also a member of the homicide unit?
        11        A       He is.

        12         Q     And that involved an incident which occurred on
        13   Thursday, December 31st, 2009 in the area of 4300 West
        14   Center Street?
        15        A       Yes.
        16        Q       Is that address i n the city and county of
        17   Milwaukee?
        18        A       It is.

        19        Q      And, just so we're speaking of the same
        20   investigat ion that involved t he death of Shanica Adkins and
        21   injuries to a Donta Brown?
        22        A       Yes.
        23        Q       Now, was the Johnny Jones or is the Johnny Jones
        24   that you interviewed on that day January 18th, 2010 present
        25   here in court ?

                                              -8-


                                        119
      Case 2:16-cv-00712-BHL Filed 08/22/16 Page 98 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   349 of 992
                                                                                     -l   !   •.·,;.: . . . . .




         1         A      Yes, he is.
         2         Q      Could you, please, point him out and tell us what

         3    he's wearing?
         4         A      He's seated at the defense table with an orange
         5    shirt over a gray shirt.
         6                       MR. STINGL:    I ask the record to reflect
         7      that he's identified Johnny Jones.
         8                       THE COURT:    So ordered.
         '9   BY MR. STINGL:

        10         Q      Where did this interview occur?
        11         A      It took place in the Police Administration
        12    Building.    I forgot which interview room .
        13         Q      If the report related to State's room 418, would
        14    that be correct?
        15         A      Yes.
        16         Q      And what is 418?      Can you describe that?
        17         A      It's typical police department interview.          It's,
        18    roughly, eight feet square.        It's painted white .    There's a
        19    table and in this case three chairs, one for the individual
        20    being interrogated and then one for my partner and I.
        21         Q      You say there's a tabl e, as well?
        22         A      Yes.
        23         Q      And the person interviewing Johnny J ones is that
        24    person here in court?
        25         A      Yes.

                                               -9-


                                         120
      Case 2:16-cv-00712-BHL Filed 08/22/16 Page 99 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   350 of 992



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         1         Q    And was he, in anyway, handcuffed or restrained
         2   in any manner during t h is interview?
         3        A     No.
         4         Q    Did you or Detective David Chavez advise him of
         5   his Miranda rights?
         6        A     Yes, we did.
         7         Q    And who did that?
         8        A     Detective Chavez.
         9         Q    Was this interview audio recorded?
        10        A     Yes, it was.
        11         Q    And did that include the Miranda rights?
        12        A     Yes.
        13         Q    Do you recall what time this interview commenced?
        14        A     I believe it was 1:18 a.m.
        15         Q    And how long did it last?
        16        A     About an hour and 45 minutes.
        17         Q    Now, is it the practice and in your experience of
        18   working with Detective Chavez, does he read the rights off
        19   the constitutional right 's card?
        20        A     Yes , we always do.

        21         Q    I'm showing you what's been marked as Exhibit 3 .
        22   can you identify t hat?
        23         A    I t's a State of Wisconsin Miranda warnings car d .
        24         Q    It's actually a copy of t hat card; is that
        25   correct?

                                             - 10-


                                       121
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 100 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                     Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10         Filed: 07/27/2022         Page63
                                                                    Pages:   351 of 992




         1         A     Yes.
         2         Q     And is that the.card -- copy of the card that
         3   you're speaking of?
         4         A     Yes, it is.
         5         Q     Now, during the interview of Johnny Jones on
         6    January 18th of 2010, did you and Detective Chavez ask him
         7   any questions about whether he was under the influence of
         8   anything?
         9         A     Yes.
        10         Q     And why did you do that?
        11         A     We do it with every interrogation that we
        12   conduct.
        13         Q     And, i n terms of this particular interrogation,
        14   did you ask him whether         in terms of responses to that
        15   question, what did the def endant say?
        16         A     He was not on any type of dr ugs or had not been
        17   drinking any alcohol.
        18         Q     I guess, more importantly, you made observations

        19   of him during this particular interview, correct?
        20         A     Yes.
        21         Q     And one of the things that you look for is
        22   whether he appears to understand what 's going on?
        23         A     Correct.
        24         Q     Whether he can - - or l et me ask this.     Did he
        25   appear to understand what was going on?

                                             -11-


                                       122
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 101 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   352 of 992




         1         A     Yes.
         2         Q     Did he l eave any doubt in your mind, any concern
         3   at all whether he was able to understand what you were
         4   talking about during this interview?

         5         A     No.

         6         Q     Did he make appropriate responses t o questions
         7   that you asked?
         8         A     Yes, very.
         9         Q     Did he ask questions of you?
        10         A     Yes.

        11         Q     And, in fact, one of those questions, for
        12   instance, was about how much time he might face for this?
        13         A     Correct .
        14         Q     And Detective Chavez answered that as best that
        15   he could?
        16         A     Correct .

        17                      MR. JENSEN:   Objection.     Leading.

        18                      THE COURT:    Overruled.
        19                      MR. STmGL:    And I would just state for the
        20      record that this is -- I'm almost done.         It 's abbrevi ated
        21      questioning because I think that the tape speaks for
        22      themselves and are part of a record .
        23                      THE COURT:    I agree with that.     Having hear d

        24      the DVDs, I would expect the t estimony to be abbreviated.
        25      I've listened to every minute of these two DVDs.

                                              -12-


                                        123
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 102 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   353 of 992

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         1                      MR. STmGL:     And with that, I have no
         2     further questions.
         3                      THE COURT:   Cr9ss.
         4                           CROSS-EXAMINATION
         5   BY MR. JENSEN:

         6           Q   Detective, the interview began at 1:18 a.m., you

         7   say, right?
         8           A   Yes.
         9           Q   And how did Mr. Jones come into custody, i f you
        10   know?
        11           A   I'm not sure.
        12           Q   So if Mr. Jones testified that he turned himself
        13   in, you would have nothing to dispute that, right?

        14           A   Correct.
        15           Q   Do you know how long he had been in custody
        16   before 1:18 a.m. on January 18th, 2010?

        17           A   No.

        18           Q   Now, you testified that you asked Mr. Jones
        19   whether he was under the influence of drugs or alcohol,

        20   correct?
        21           A   Yes.
        22           Q   But when you asked him that, the context of the

        23   question was whether he was ooder the influence at the time
        24   of the accident, correct?
        25           A   Actually, we asked him both at the time of the

                                               -13- .


                                         124
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 103 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   354 of 992




         1   accident.    At one point during the interview if he was
         2   drinking or any -- had been using any drugs at the time of
         3   the accident.       But beginning at the end of what we call a
         4   "pedigree form", we asked currently and I beli eve the words
         5   we typically use are in the last 24 to 48 hours.
         6         Q     And although the tape speaks for itself, what is
         7   your recollection of Mr. Jones' response?
         8         A     That he had not been drinking or taking any
         9   drugs.
        10         Q     Did you exaroine Mr. Jones' ability to balance;
        11   for example, did you run any field sobriety tests on him?
        12         A     No.
        13         Q     Could you smell alcohol on his breath?
        14         A     No.
        15         Q     Did he appear to be s l urring his words?
        16         A     No.
        17         Q     Now, you testified that Mr. Jones at one point
        18   asked what was the maximum amount of time that he could get
        19    for the case he was being questioned about, correct?
        20         A     Yes .
        21         Q     What was the answer t hat was given to him?
        22         A     I believe it was like 15-year maximum, words to

        23   that effect.
        24         Q     And that turned out not t o be truer right ?
        25         A     What's that ?

                                               -14-


                                         125
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 104 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   355 of 992

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         1         Q    That the case he's charged with facing does not
         2   carry a maximum of 15 years, does it?
         3         A    Actual ly, I don't know.
         4         Q    At some point Mr. Jones told you t hat he wanted
         5   to have an attorney, correct?
         6         A    No.
         7         Q    Well, at 29:10 on the recording, he said "y'all
         8   can get me a public pretender now", right?

         9         A    Yes.

        10         Q    You knew or know that a "public pretender" is an
        11   appointed attorney, correct?
        12         A    Yes.

        13         Q    In fact, you knew that because you told him there
        14   wasn't time for him to get a lawyer right now, correct?
        15         A    Not in t hose •l'lords, but words to that effect at
        16   this time of night .

        17         Q    So you knew Mr. Jones was t alking about a lawyer,

        18   didn't you?

        19         A    Yes.
        20         Q    And did you stop the interview at that point?
        21         A    We weren't questioning him.
        22         Q    Al l right.   But the interview didn't stop?

        23         A    Correct.
        24         Q    How long did i t continue after he said that?

        25         A    About an hour, maybe.

                                             - 15-


                                       126
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 105 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   356 of 992




         1         Q    And if you weren't questioning him, what went on
         2   for that hour?
         3        A     My answer when I said we weren't questioning
         4   him -- we weren' t questioning him when he said that when he
         5   asked about a pretender.
         6         Q    But you did continue to question him after he
         7   said he wanted a public pretender, correct?
         8                     MR. STINGL:    I'm going to object to the
         9     characterization of that "he wanted".         That's not what he
        10     said.
        11                     THE CX>URT:   Right.   I don't think that's
        12     what he said.     I have it in my notes.      It was certainly
        13     not that clear.
        14                     Sustained.
        15                     MR. JENSEN: . I' 11 rephrase the question.

        16   BY MR. JENSEN:

        17         Q    You continued to question him after he said y'all
        18   can get me a public pretender now?
        19         A    Yes.
        20         Q    Did Mr. Jones have t he oppor tunity to speak to a
        21   lawyer before you continued wit h your questioning?
        22         A    No.

        23         Q    How did the questioning end; how did the
        24   interview end?

        25         A    As far as what?

                                              -16-

                                        127
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 106 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   357 of 992




         1        Q     Well, at some point you stopped interviewing Mr.
         2   Jones~ correct?

         3        A     Yes.

         4        Q     Why did you stop interviewing him?

         5        A     I don't recall.
         6        Q     After you stopped interviewing him, where did he

         7   go, if you know?
         8        A     Back to the prison processing section.
         9        Q     Do you know once he was taken back there, was he

        10   given access to an attorney?
        11        A     No.
        12         Q    You don't know or he was not?
        13        A     Sorry.    Yes, I know.       No, he was not.
        14         Q    Do you know whether or not Mr. Jones was taken t o
        15   the hospital after your interview?
        16        A     I do not.
        17                     MR. JENSEN:    No further questions.
        18                     THE COURT:    Foll ow-up.
        19                          REDIRECT EXAMINATION

        20   BY MR. STINGL:

        21         Q    I'm showing you what's been marked as Exhibit 4.
        22   Can you ident i fy that?
        23        A     This is a copy of the arrest and detent ion report
        24   for Mr. Jones.
        25         Q    And is that arre st detention r eport a document

                                              -17-


                                        128
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 107 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                           Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10               Filed: 07/27/2022         Page63
                                                                          Pages:   358 of 992




         1   which you r elied upon in your business as a Milwaukee
         2   police detective?
         3        A        Yes.
         4        Q        Now, that particular docwnent relates t o the
         5   arrest of Johnny Jones?
         6        A        Yes, i t does.
         7        Q        And that's the person here in court?
         8        A        Yes.
         9         Q       What was the time, date of the arrest?
        10        A        It was on January 17t h, 2010 at six o'clock p.m.

        11                        MR. STINGL:     Thank you.
        12                        I move to introduce Exhib it 4 into evidence .

        13                        MR. JENSEN:     No objection .

        14                        THE COURT:     Re ceived .
        15                        MR. STINGL:     I have no f urther questi ons.
        16                        THE COURT:     Any fol l ow up?

        17                        MR. JENSEN :    I have no cross on that.

        18                        THE COURT:     You can s tep down, Detective.
        19                        Thank you.
        20                        MR. STINGL:     State calls Det ective Cha rles
        21     Mue ller.
        22                        THE COURT:     Fi n e .
        23                        MR. STINGL:     I would move Exhibit 3 into

        24     evidence .
        25                        THE COURT:     Any objection ?

                                                  - 18-


                                            129
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 108 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   371 of 992




         1                    THE DEFENDANT:    Yes, sir.
        2                     THE COURT:   You discussed whether to testify
         3     or not with your attorney; is that right?
         4                    THE DEEENDANT:    Yes, I have.
         5                    THE COURT:   Fine.
         6                    He can proceed.      He's testifying freely and
        7      voluntarily, as far as I can tell .
         8                         DIRECT EXAMINATION

         9   BY MR. JENSEN:

       10         Q    Mr. Jones, you're the defendant in this case; is
       11    that right?
       12         A    Yes.
       13         Q    And how did you come into police custody?
       14         A    I turned myself in.
       15         Q    Describe for the Judge what you did that you
       16    characterize as turning yourself in?
       17         A    The officer was out the car by my mother's house.
       18    I called my mother, and my morrrrna told me to turn myself in.

       19    So me and her had a discussion .       So she gave me the
       20    telephone number to call.     I called the guy.      I told      he
       21    tried to ask me questions about the case.         I t old him,
       22    like, I'm trying to get a lawyer before I sign myself in.
       23    He told me alright.    I told him to meet him over there on
       24    7th and Locust or 6th and Locust.        It was a corner store.
       25    I told him meet me.    He met me over there at 6 o'clock.

                                           -31-


                                       130
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 121 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                    Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10        Filed: 07/27/2022         Page63
                                                                   Pages:   372 of 992




         1        Q     On what day?
         2        A     18th of January, 17th of January.
         3        Q     Does your mother live in Milwaukee?
         4        A     Yes.
         5        Q    What 1 s your mother's address?
         6        A     2741 South 14th Street.
         7        Q     Did you meet the officer at the corner store?
         8        A     Yes.
         9        Q    What happened then?

        10        A    We drove.    I got in the back of the car.      He

        11   didn't handcuff me.    I j ust got in the back of the car 1 and

        12   he took me to the police station.
        13        Q    When did this phone call with Detective Devon
        14   with reference to when you met him at the corner store?
        15        A    Maybe, about a hour.or two prior.
        16        Q     Did you make any efforts to retain an att orney
        17   before you turned yourself in?
        18        A     I tried.   I was calling my      I was calling
        19   around to my people to try to get me an attorney, but
        20   nobody had no money or nothing like that.       So I said I 1 m
        21   just going to turn myself in.
        22        Q     Prior to turning yours elf in 1 and let's limit
        23   this to the two or three hours before you turn yourself i n,
        24   had you consumed any alcohol or drugs at any time ?
        25        A     Yeah.   I went -- I went t o -- I went and got a

                                          - 32-


                                       131
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 122 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   373 of 992



                                                           i




         1   couple of ecstasy pills.        I t ook those and I had like two,
         2   three shots of Patron.

         3           Q    What i s Patron?
         4           A    It's Tequila.
         5           Q    Why di d you do that if you knew you were turning
         6   yourself into t he police?
         7           A    Because I ain't want to go down there sober.          I

         8   ain't want to face -- I would rather been under t he
         9   influence.     I didn 't want to go deal with what I was·
        10   facing.
        11           Q    What time was this that you took the t wo ecstasy
        12   pills?
        13           A    Maybe like 5, 5:30, 5 o'clock, something like
        14   that.
        15           Q    By the time you met with the offi cer at t he
        16   corner store, were you feeling the affect s of t he ecstasy

        17   pills?
        18           A    They started to kick in probably be about six
        19   o'clock, as soon as I got down to the station.
        20           Q    De scribe for the Judge how ecstasy pills affected

        21   you; how they affected you?
        22           A    I t depends on the mood t hat you in .     It depends

        23   like in an instant the mood t hat you i n.        So at t he t ime I

        24   was really emotional.        So I was j ust emotional, very --

        25   like I c an't describe i t .     I was just like over the top

                                              -33-


                                           132
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 123 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                         Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10             Filed: 07/27/2022         Page63
                                                                        Pages:   374 of 992




         1   with it.
         2         Q    How long do the affects of ecstasy last in you?
         3        A      It could last about a day.
         4         Q    All right.     After you were arrested, where did
         5   you go?
         6        A     They put me inside a cell.
         7         Q    At what police station?
         8        A      I don' t know.
         9         Q    How long were you in the cell?
        10        A      I don't know.     With the drugs and then no clock
        11   and nothing around, I couldn't tell.
        12         Q    How long after you were arrested did you begin
        13   your first interview?
        14         A     I don 1 t know.    I don't know.       I dori't rem.ember.
        15         Q    Were you under the influence of the e cstasy
        16   during the f i r s t int erview?
        17                     MR. STINGL:       I'm going to object at this
        18     time phrased "under the influence".             That is vague.    It
        19     doe sn't mean anythi ng.
        20                     MR. JENSEN:       All right .    I'll rephrase the
        21     que stion.
        22   BY MR. JENSEN:

        23         Q    Were you feeling the effects of the ecstasy at
        24   the time you began your fir st interview?
        25         A    Yes.

                                                -34-


                                           133
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 124 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   375 of 992




         1        Q      Describe what those affects were; how were you

         2   feeling?

         3        A      Like, I was -- I was going through a thing where

         4   I was already behind this woman getting killed.           So -- so

         5   -- so my emotions was going like 10 times like that.             So my

         6   palms were sweaty.     My heart beating real fast, but I know

         7   like I have to get through the interview.

         8        Q      Did you tell the police that you were under the

         9   influence of ecstasy or that you had taken ecstasy?
        10        A       I don't remember.

        11        Q       Do you remember whether they asked you if you had
        12   consumed any drugs or alcohol before the interview?

        13        A       I don't remember.

        14        Q      Did you ask the police what was the maximum

        15   penalty you were facing?
        16        A      Yeah.   I asked.     I asked the detective.     I
        17   said-~ I asked him what I'm being charged with.            He told

        18   me I'm getting charged with -- telling me I was getting
        19   charged with second-degree reckless homicide.          So I'm
        20   thinking like -- so I'm thinking like, okay, second-degree

        21   homicide because I just did 10 years.         And I was facing 215
        22   years.     So they gave me 15 years that I was facing.          So now
        23   I'm facing like 10.     So I would be facing 10.        But for a

        24   stay sentence then, he was facing another 10 for his own
        25   for him being on parole.       So him facing another 15 .       He's

                                              -35-


                                       134
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 125 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                          Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10              Filed: 07/27/2022         Page63
                                                                         Pages:   376 of 992



                         _J




         1   going to get band.       So I'm like, alright, 15 years for me
         2   at the most.     If this the most I can get, I might as wel l.

         3   I'm pretty sure 10.        They mess around and give me like two
         4   or three years so why wouldn't I.
         5         Q     So, first of all, who is Sean?
         6         A     Sean Moore, that was a guy I met in jail.
         7         Q     And, second of all, why did it matter to you

         8   during this interview what time Sean was facing?

         9         A     Because prior to this -- prior to me turning
        10   myself in, me and Sean girlfriend was talking .            We kept on
        11   talking about me taking the case for Sean .
        12         Q     Who was driving the car that night at the time of
        13   the accident?
        14         A     Sean, Sean was.
        15         Q     Sean Moore?
        16         A     Prior to -- prior to - - prior to the incident, we
        17   was       I was driving.
        18         Q     Listen to my question.          At the time of the
        19   collision, who was driving the car?

        20         A      Sean was.

        21         Q     Now, what did the detectives tell you the maximum

        22   penalty was again?
        23         A      Fifteen years .

        24         Q     Now, why did that -- tell me again why that made

        25   a difference to you?

                                                  -36-


                                            135
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 126 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                         Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10             Filed: 07/27/2022         Page63
                                                                        Pages:   377 of 992




         1          A    Because I'm feeling like           I'm f eeling like --
         2   the detective, the way he's saying it like t hat's the most
         3   I can get is 15 years.        I don't know if it was word play
         4   that he was trying to do.        But I asked him, like, okay, is
         5   it second-degree reckless.          That's 15 years.    Okay, so I
         6   will get 15 years.        I end up facing like 65.      You know what
         7   I'm saying?        So I' m thinking 15 years, I can cool it like
         8   two or three years.
         9          Q    Alright.      Do you recall telling the detectives

        10   that y'all can get me a public pretender now?

        11          A    Yes.     Because we made a joke.      They made a joke
        12   right after that about it.
        13          Q    Well, what do you mean when you told them you

        14   could get me a public pretender right now?

        15          A    For them -- for them to get me a lawyer right

        l6   there because prior to this I've been trying to get a

        17   lawyer .
        18          Q    So did you get a la-wyer at that point?
        19          A    No .
        20          Q    Why did you continue with the interview then?

        21          A    Because        because -- because -- I'm thinking
        22   like       like -- l ike -- like might as well, might as well
        23   go ahead and take the wrap for Sean.           I was still going to
        24   take the wrap for Sean, though.
        25          Q    Alright.      After that interview ended, what

                                                 -37-


                                           136
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 127 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   378 of 992




         1   happened?
         2          A      After that interview, t he first one?
         3          Q      Yes?
         4          A      They took me back up to my cell.
         5          Q      What happen then?
         6          A      I'm up in the cell.     I get to sweating.     I get to
         7   sweating l ike crazy.     I feel l ike -- I feel like the pil ls
         8   has tingling all over me.         So my heart start beati ng real
         9   fast, and I got real scar ed.

        10          Q      What did you do?
        11          A      I told the police, well, I think I'm goi ng to
        12   die.   And they called the ambulance, and they t ake me to
        13   the hospital.
        14          Q      What happened at the hosp{tal ?
        15          A      They -- they - - they -- t hey checked my vit als
        16   and stuff .     And by t hen -- by t hen my heart rat e got back
        17   to normal and stuff so -- so I don 't know.

        18          Q      Did you tell the doctors at the hospital , any of
        19   the hospital personnel that you were under t he influence of
        20   ecstasy?
        21          A      No.

        22          Q      Why not?
        23          A      I didn't want -- I didn' t want t o get in trouble.
        24   I didn't want to get i n trouble for taking -- I ain't -- I
        25   don't know.

                                               - 38-


                                         137
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 128 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   379 of 992




         1        Q      Alright.    Have you ever had a panic attack like
         2   that before?
         3        A      No.
         4        Q      How long were you at the hospital?
         5        A      I don't know, maybe a couple hours.
         6        Q      From the time the first interview ended until the
         7   time the second interview began, did you consult with an
         8   attorney?
         9        A      No, sir.
       10         Q      Were you offered the opportunity to consult with
        li   an attorney by any person?
       12         A      I don't recollect.
       13         Q      When the second intervi ew began, were you still
       14    feeling the affects of the ecstasy?
       15         A      I was.     I was but it wasn't as deep as when I was
       16    at first.
       17         Q      So why did you continue with the second interview
        18   after you had already asked for a lawyer?
        19                     MR. STmGL:      I'm going to object at this
        20     time the phrasing "he asked for a lawyer" because he did

       21      not, and that's the State's position.         The tape speaks
       22      for itself, the recording.

       23                      MR. JENSEN:     Well, it doesn't assume a fact
       24      not in evidence, but I'll rephrase the question.
       25                      THE COURT:    Fine.   I t can be rephrased.

                                             - 39-


                                         138
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 129 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   380 of 992




         1      Certainly that's not the l anguage Mr. Jones used, if at
         2      all.   There was a discussion about a public pret ender.
         3      He never once said he wanted an attorney.
         4    BY MR. JENSEN:

         5         Q     After you told the pol ice y'all can get me a
         6    public pretender right now, why did you decide to continue
         7    with the second interview?
         8                     MR. STINGL:     I'm going to obj ect to the
         9      phrasing that he t old the pol i ce that .     That was a
        10      question, and it was answered, no, that t hey can't get
        11      him right now.     So he's putting words in his cli ent's
        12      mouth regarding t hat he asked for an attorney; t hat he
        13      told the police he wants an att orney.        That is not true.
        14                     THE COURT:     Why don't we just make i t after
        15      the words "publ i c pretender" c ame up, whether i t was a
        16      request or a suggestion or however, why di d he then go
        17      forward with the second interview.
        18                     MR. STINGL:     And unless t his goes t o the
        19      Goodchi ld issue, which is the only i s sue raised in t he
        20      defendant's mot ion, it's not r e l evant becaus e I have the
        21      mot ion in f r ont of me .   Unless t her e 's another mot ion
        .22     and t he issue of t he r i ght to have an at t orney is not
        23      mentioned in that motion .      The State has no notic e of
        24      that issue , and it i s wa i ved by the defense at thi s time.
        25                     So I'm surpr ised by t he f act that he keeps

                                               -40-


                                         139
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 130 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   381 of 992




         1     asking about that particular phrase, which is in the
         2     police reports and in the recordings.          It's in Detecti ve

         3     Chavez's police report that phrase, and it's not raised
         4     in the motion.
         5                    MR. JENSEN:     I don't believe that's an issue
         6     that can be raised .     I don't think t here's any
         7     requirement in the statutes that there even be a written
         8     motion.   I filed a written motion to have a hearing ahead
         9     of time, and that issue is in play.          And i f the State is
        10     surprised, then I guess we need to have an adjournment so
        11     that they can be prepared to address that issue .          I don't
        12     know what additional information they woul d have other
        13     than the recor ding and the detectives who were there.
        14     But if Mr. Stingl needs an adjournment, I think he should
        15     be granted one because that is an issue, and it has not
        16     been waived.

        17                    THE COURT:    Well, i n the motion to suppress,

        18     the defense rai ses the allegation that the defendant took
        19     three or four ecstasy pills.          He was allegedly i ll.   And

        20     during the interrogation, the police allegedly told him
        21     that the most "he could get" was 15 years.
        22                    There's not a mention of him being denied a
        23     right t o an attorney.      There's not anything in there, in

        24     the written motion that that ever came up .
        25                    MR. JENSEN:     And I agree with that, and

                                              -41-


                                        140
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 131 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   382 of 992




         1     we're not at the end of the case yet.         And if we were
         2     talking about a post-conviction motion, there may be an
         3     issue of waiver.     But we're pretrial.      It's an issue that
         4     has developed.     Maybe I should have been more -- maybe I
         5     should have raised it in the written motion.          But it is
         6     not permanently waived by any stretch.         We're pretrial
         7     now.     And if Mr. Stingl is surprised and he has some
         8     evidence that he hasn't presented, then I guess he should
         9     be given the opportunity to present the evidence.
        10                    MR. STINGL:    It 1 s not so much evidence,
        11     Judge.     If the Court is going to consider that issue,
        12     then I want to brief the issU:e,.and it won't take me a
        13     long time to do it.     It might take a couple of days.         But
        14     I was notified of these issues.       We did research
        15     regarding these issues.       I was prepared to inform the
        16     Court of the case law regarding these issues, and not in
        17     terms of what he is stating now whether t his is a request
        18     for an attorney, which I know there's specific case law
        19     on that issue.
        20                     And if the Court is going to consider it, I
        21     would ask just for an opportunity to brief that issue
        22     because I am surprised.       I prepare f or a mot ion that's
        23     before me.     The rules regarding motions is that they must
        24     state the issues with specificity.        He has done so.     And
        25      I appreciate the concise nature of it right to t he point,

                                             -42-


                                       141
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 132 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   383 of 992


                                                                                            i


         1     and that's what we prepared for.
         2                   MR . .JENSEN:    Right.     There's also a local
         3     rule that prohibits ad hoc legal arguments, and I haven' t
         4     received any written response from the State.           So if Mr.
         5     Stingl was prepared with all his case law, I would have
         6     objected to him rattling it off orally here today.            So i t
         7     looks like we need post-hearing briefs anyway.
         8                   MR. STINGL:     That's right.      I don't believe
         9     in briefing something before we have a hearing on it.
        10                   MR. .JENSEN:     Fine .    Then I think we' re all
        11     on the same page.    We'll submit post-hearing briefs.
        12                   THE COURT:      Fine.     Why don't we continue,
        13     continue where we left off.        We can deal with the issues
        14     that were raised in the motion to suppress and the
        15     alleged use of ecstasy pills, the alleged illness, and
        16     any affect it may have had on Mr. Jones.          And we can come
        17     back to, i f necessary, with briefs, which, I mean, from
        18     the Courtfs standpoint; I mean, candidly, I was somewhat
        19     surprised when I was listening to t he CD yesterday and
        20     heard t his little -- I don't even know that I would
        21     charact erize it as a conversation, but the words "public

        22     pretender", not "public defender", but "publi c pretender"
        23     came up about the 29- minute mark on the first CD.          The
        24     defendant and whi chever officer was interrogat ing him at
        25     that point in time joke about it; have a conversation for

                                             -'-43-


                                       142
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 133 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                          Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10              Filed: 07/27/2022         Page63
                                                                         Pages:   384 of 992




         1     about 15 or 20 seconds, and then they continue forward.
        2                         So let 's conti nue, and t hen we'll decide at
         3     the end of today's hearing if we need additional time on
         4     that issue.
         5                        Go ahead, counsel.
         6   BY MR. JENSEN:

         7        Q    My question, Mr. Jones, was, and I 'll read f r om
         8   the report now so that I don't draw an object ion .             Aft er
         9   you told the offic er at 00:29 : 10 "so y'all can get a public
        10   p r etender right now", why did you continue with the second
        11   inter view?
        12        A        I   ba si cally kept going because I felt that - - I
       13    felt that -- that I was doing the right t hi ng f or my
        14   friend.   Pe riod.
        15                        MR. JENSEN:    I have no further questions.

        16                        THE cnuRT:    Cross.
        17                             CROSS-EXAMINATION
        18   BY MR. STINGL:

        19        Q        How rrany t imes have you been a r rested?
        20                        MR. JENSEN:    I'll obj e ct t o the -- well, I
        21     won' t object to t hat ques tion .
        22                        THE OJURT:    Fine .
        23                        You can answer, Mr. J on es, please.
        24                        THE DEFENDANT:     Twice.   I don't -- I
        25     don' t -- I don't -- like d rive and s t uff l i ke t hat?

                                                -44-


                                           143
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 134 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                              Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                  Filed: 07/27/2022         Page63
                                                                             Pages:   385 of 992



                            _j




         1                           THE OJURT:      The question is arrested, not
         2     convict ed, not charged.              Arrested.
         3                           THE WITNESS,:     Maybe, like, about five times,
         4     I   think.        I   don't -- I don't know.

         5   BY MR. STINGL:

         6          Q       You've been to prison?
         7          A       Yes.
         8          Q       What was that for?
         9          A       For robbery, threat of force.
        10          Q       .A.nd during that case, were you questioned by
        11   police?
        12          A       Yes.
        13          Q       That was from 1998?
        14          A       Yes.
        15          Q       Did you make -- did you under stand when you were

        16   being questioned by police what tha t questioning wa s about

        17   in that case ?
        18          A       I wasn't questioned by the police.

        19          Q       Okay.       My question was i n tha t case we r e you

        20   questi oned by t he pol ice?
        21          A       Was I?
        22          Q       Ye s?

        23          A       Tue y asked me and I di dn' t give a stateme nt.
        24          Q       So you understood your rights ?

        25          A       Yes .

                                                     - 45-


                                               144
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 135 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   386 of 992




         1         Q   And you have other convictions as well, correct?
         2         A    I have one other conviction.
         3         Q    1998 obstructing, correct?
         4         A    Obstructing?

         5         Q    rrm going to stop because, obviously, you don't
         6   even know your own criminal record.        Is that true or do you
         7   want me to show it to you?
         8         A    Yeah.
         9         Q    You have a pending case in Kenosha Count y for
        10   having felon in possession of a firearm, correct?

        11         A    Correct.
        12         Q    Were you questioned in that case?
        13         A    No.
        14         Q    Now, let me ask you, you remember and·you
        15   testified specifically about the detectives questioning you
        16   in this case, correct?

        17         A    Correct.
        18         Q    You remember that?
        19         A    I remewber them questioning me?

        20         Q    Yes?

        21         A    Yeah.

        22         Q    And you rernember what they questioned you about?

        23         A    Sort of, kind of.
        24         Q    Sort of, ki nd of?    What don't you remember about
        25   it?

                                             - 46-


                                       145
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 136 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                          Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10              Filed: 07/27/2022         Page63
                                                                         Pages:   387 of 992




         1          A       I mean

         2          Q      You've looked at the police reports, right?
         3          A       I mean, from the police reports I got, I don't
         4   I don't got my interview.           I got pieces of it.

         5          Q      Your attorney asked you do you recall making the
         6   statement so y'all going to get a public pretender right
         7   now.       Do you recall making that statement?

         8          A       I recall asking that question.
         9          Q      You recall asking that question.         So you recall
        10   the police talking to you during thi s interview, correct?

        11          A      Yeah.     I remember them talking to me.
        12                         MR. JENSEN:    And I'm going to object to t he
        13     fonn of that question assuming it's a fact not evidence
        14     because he says he didn't ask are you going to get a
        15     public pretender.         It says so y'all can get a public
        16     pretender now.
        17                         THE COURT:    Fine.   Let's stop arguing about

        18     the semantics of exactly what he said about the public

        19     defender.      The record speaks for itself.         Obviously that
        20     conversation came up.

        21   BY MR. STINGL:

        22          Q      And you recall, specifical ly, talking t o them

        23   about t hat, correct?

        24          A      Yeah.

        25          Q      And your statement now is that you are trying to

                                                 -47-


                                            146
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 137 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   388 of 992




         1    take the wrap for Sean Moore, correct?
         2           A   Yes.
         3           Q   And that was your whole purpose i n talki ng t o the
         4    police regarding this homicide, correct?
         5           A   Yes.
         6           Q   And you, specifically, recall that, correct?
         7           A   Yes.
         8           Q   And that was the p l an that you had according to
         9.   you?
       10            A   Yes.
       11            Q   So you had t he mental capabili ty of planning to
       12     lie to the police, correct?
       13            A   Yes.
       14            Q   Okay.   Is there anything about t hat conversation
       15     that you had with the police that you did not understand?
        16           A   Yes.
       17            Q   What?
        18           A   Like when they was telling me -- when they was
        19    telling me that the pol i ce was coming t his way, and I kept
       20     telling them that, no, I t hought they was this way.        And
       21     then they were telling me that thei r car was coming this
       22     way when the ca·r got struck because I t old them we was
        23    coming this way.    I didn' t unde rst and none of t hat.
        24           Q   Well, you were telling them what happened ?
        25           A   Well, I was trying.

                                            - 48-


                                        147
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 138 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                         Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10             Filed: 07/27/2022         Page63
                                                                        Pages:   389 of 992




        1         Q    You were correcting the police?
        2         A    No.      They was t elli ng me that, and I was trying

        3    to counter that.

        4         Q     Right.     Because what they were telling you was

        5    wrong?

         6        A     I mean, I don't know what they was telling me if
        7    it was r i ght or wrong.

        8         Q     But you were telling them what happened, correct?
         9        A    Yeah ..
       10         Q     You were telling them how the accident happened?

       11         A     I was telling them -- I was trying to tell them
       12    f r om Sean Moore perspective what happened.

       13         Q     Okay.     But you were lying to them.        You were
       14    putting yourself in the place of Sean Moore, according to
       15    you, correct ?
       16         A     Yes.
       17         Q     So you were telling them, for instance,

       18    specifically, t hat you went t hrough a r ed light , correct ?
       19         A     Yes .

       20         Q    And that you wer e driving?

       21         A     Yes.
       22         Q    And you recall doing that t o the police , cor rect?
       23         A     Do I recall doing t hat?

       24         Q     Lyi ng t o t hem?
       25         A     Yeah.

                                              -49-


                                            148
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 139 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                          Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10              Filed: 07/27/2022         Page63
                                                                         Pages:   390 of 992




         1        Q       According to you.       So you recall this whole
         2   interview that you had with the police?
         3        A       I   don't recall the whol e interview.       I   don't
         4   remerrber.       I don't remember.

         5        Q       Have you revi ewed the interview?
         6        A       No.
         7        Q       No~, the ecstasy that you said you took, where
         8   did you get it from?
         9        A       Got it off the street.
        10        Q       When?
        11        A       That day.
        12        Q       What day?
        13        A       The day I turned myself in.
        14        Q       And the day you turned yourself in you say you
        15   wanted to take ecstasy?
        16        A       Right.
        17        Q       Do you have any hospital records f rom when you
        18   went to the hospital ?
        19        A       I was in custody .      I don't need hospital records .
        20        Q       The question requires a yes or no response.              Do

        21   you have any hospital records from when you went to the
        22   hospital regarding your anxiety att ack?
        23        A       I don't have nothing.
        24        Q       Okay.     Well , neither do I and I wondered if you
        25   have any, do you?

                                                 -50-


                                           149
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 140 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                           Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10               Filed: 07/27/2022         Page63
                                                                          Pages:   391 of 992




         1                         MR. JENSEN:    Asked and answered.
         2                         THE CCXJRT:   Sustained.
         3     BY MR. STmGL:

         4          Q      Was any blood drawn from you at the hospital?
         5          A      Yes.
         6          Q      Do you have any records regarding that?
         7                         MR. JENSEN:    Asked and answered.
         8                         THE CXJURT:   Overruled.    Different question.

         9                         Answer, please.
        10                         THE DEEENDANT:     I don't have no paperwork

        11       from the hospital.
        12     BY MR. STmGL:

        13          Q      And.tell us about why you went to the hospital;
        14     how were feeling that you felt you needed to go to the

        15     hospital?
        16          A      I felt like -- like I was about to die.

        17          Q      Okay.     What specifically and physically were you
        18 ·   feel i ng that you thought you were going to die?
        19          A      My heart was beating rapidly.         It fel t l i ke -- it
        20     felt like a hand was grabbing my heart.            I was sweating.

        21          Q      And have you ever taken ecstasy before this date?
        22          A      Yes.

        23          Q      Is that something that you say happens when

        24     you 1 re on ecstasy?
        25          A      Yes~     No, not the -- not the -- not the -- not

                                                  - 51-


                                            150
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 141 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                              Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10                  Filed: 07/27/2022         Page63
                                                                             Pages:   392 of 992

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         1   the heart thing because I popped -- I think I did too much.
         2        Q      So when you take ecstasy, you realize what
         3   happens to you when you're on ecstasy?
         4        A      I       take it like I could feel the effected.
         5        Q      And you know what happens.                You went t o the
         6   hospital.       Your heart, you say -- and that's why the
         7   police -- you tell the police that something is wrong.
         8   They take you to the hospital, correct?
         9        A      Yes.
        10        Q      Did you tell the people at the hospital that you
        11   were on ecstasy?
        12        A .    No.
        13        Q      Did you tell the people at the hospital that you
        14   had taken any drugs?
        15        A      No.
        16        Q      Did you tell the people at the hospital that you
        17   were under the influence of anything?
        18        A      No.
        19        Q      Did they ask you that?
        20        A      No.
        21        Q      You're in the hospital in the emergency room, and
        22   they don 't ask you that?
        23                            MR. JENSEN:     Objection.     Argumentative.
        24                            THE OOURT:    Overruled.

        25                            Answer.

                                                    -52-

                                                151
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 142 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                          Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10              Filed: 07/27/2022         Page63
                                                                         Pages:   393 of 992




         1                        THE DEFENDANT:         I   don't remember.
         2   . BY MR. STINGL:

         3         Q      Now, I think you said when your attorney was
         4    asking you questions, you did not tell the peop le at t he
         5    hospital and you did not tell the police regarding the
         6    ecstasy because you didn't want to get in trouble; is that
         7    correct?
         8         A      Yeah.

         9         Q      Is that why you didn't tell the people at the
        10    hospital?
        11                        MR. JENSEN:    Objection .        Vague.
        12                        THE rnURT:    Sustained.
        13                        I got lost on that one.

        14    BY MR. STINGL:

        15         Q      Did you tell the people at the hospital that you
        16    were on ecstasy?
        17                        MR. JENSEN:    Asked and answered.           Object .
        18                        MR. STINGL:    It's preliminary now so
        19      everyone can understand what I'm talking about.
        20                        THE OOURT:    Fine .
        21                        Overruled.
        22    BY MR. STINGL:

        23         Q      Did you tell the people at the hospital t hat you
        24    were on ecstasy?
        25         A      No .

                                                 - 53-


                                           152
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 143 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   394 of 992




         1        Q      Why did you not tell them that you were on
         2   ecstasy?
         3                    MR. JENSEN:     Asked and answered.
         4                    THE CCORT:    Overruled.
         5                    Answer, please.

         6                    THE DEFENDANT:     What was the question again?
         7                    THE CXlURT:   Why did you not tell the people
         8     at the hospital that you were on ecstasy; why did you not
         9     tell t hem that ?

        10                    THE DEEENDANT:     I don't remember.       I don' t
        11     know.    Why would I?   I don't know.        Why would I tell

        12     them?
        13   BY MR. STlNGL:

        14        Q      Why did you not tell the police that you were on

        15   ecstasy?
        16        A      The police or the people at the hospital?
        17        Q      Well, you already said you don't know why you

        18   didn't tell the people at the hospital.           Now I'm asking you
        19   why you did not tell the police when you were being

        20   questioned that you wer e on ecstasy.          They asked you
        21   specifically, correct, were you on any drugs?
        22                    MR. JENSEN:     Obj ection.     The question is

        23    . multiple in fonn.

        24                    THE CXXJRT:   Somewhat.       Let 's clarify.
        25   BY MR. STINGL:

                                            -54-


                                        153
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 144 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                         Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10             Filed: 07/27/2022         Page63
                                                                        Pages:   395 of 992




         1        Q      Did you tell the police that you were on ecstasy?
         2        A      No, I didn't.

         3        Q      Why not?
         4        A      I didn't want to get in t roubl e behind that too.

         5        Q      Okay.     I'm marking that there.      You did not want
         6   to get in trouble.       You're taking the wrap for killing an
         7   irL"locent woman; that's your testimony, correct?
         8        A      That was the statement.

         9        Q      Because it's only 15 years, right?
       10                        TEE COURT:    Mr. Jones, answer the question,
        11     please.
        12                       THE DEFENDANT:    Yes.
        13   BY MR. STINGL:

        14        Q      But you do not want to tell the police t hat you
        15   took ecstasy because t hat would get you i n trouble; is that
        16   what you're saying?
        17        A      I don't want no mor e time than that.
        18        Q      Do you think taking two ecstasy pills wi ll catch
        19   you 15 years?
        20                       MR. JENSEN:    Objection.
        21                       MR. STINGL:    Well, I want to know what's in
        22     his head.     Does he think t hat taking ecstasy is going to
        23     catch him 15 years?
        24                       MR. JENSEN: . Wait,   are you asking me or is
        25     that a question?

                                               -55-


                                          154
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 145 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   396 of 992




         1                      :MR. STINGL:    I'm asking the witness.
         2                      :MR. JENSEN:    Then I object to the form of
         3     the question.
         4                      THE OJURT:     Overruled.       It's relevant.
         5                      THE DEFENDANT:        I -- I   wasn't      I wasn't
         6     thinking.       I was -- I done pop some pills.           I wasn't
         7     thinking if I should tell the police if I should~- If I
         8     should if -- if -- if -- if -- if ain't pop some pills or
         9     not.    I just want to hurry up · and get the interview done

       10      with.
       11    BY :MR. STINGL:

       12         Q      So the answer is what, yes or no?              Do you think
       13    telling them about the ecstasy is a 15-year crime?
       14         A      No.    I don't think that.
       15         Q     And while you were manipulating the police by
       16    lying to t hem, you're saying that because it 's only 15
       17    years then, you're going to take the wrap for Sean Moore?
       18                       :MR. JENSEN:    Objection.      Asked and answered
        19     and argumentative.
       20                       THE OJURT:     I t has been asked and answered,
       21      but it's somewhat relevant to where we are now.
       22      Overruled.
       23                       Answer the question, Mr. Jones .
       24                       THE DEFENDANT:        I don' t get t he que stion.
       25    BY :MR. STINGL:

                                               -56-

                                          155
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 146 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                      Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10          Filed: 07/27/2022         Page63
                                                                     Pages:   397 of 992



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         1        Q     I'll ask it this way.         Let me take it step by
         2   step and you answer yes or no if I'm wrong.             You just tell
         3   me because I'm trying to figure out your testimony.            You're
         4   telling us that you lied to the police about driving,
         5   correct?
         6        A     Correct.
         7        Q     And one of the reasons that you lied to the
         8   police is that you found out that it was only 15 years you
         9   were looking at, correct?

        10        A     That's one of the reasons, yes.
        11        Q     That's one of the reasons, correct?           Tell us the
        12   other reasons?    I'm giving you the opportunity.          Tell us
        13   the other reasons that you lied to the police?.
        14        A     Well, well, in 1998, you know, clearl y that I
        15   didn't take a statement .      So when I did take this
        16   statement, I knew that -- I knew -- I kind of figured -- I
        17   kind of figured that -- that lying -- that lying would go

        18   ahead and save Sean.    That's another reason .          I want to
        19   finish.
        20        Q     Let me take it one step at a time.
        21                    THE COURT:     Hang on, Mr. Stingl.
        22                    MR. JENSEN:     Give him an opportunity.

        23                    MR. STINGL:     Fine.
        24                    THE COURT:     Hang on.    Let him finish.
        25                    Finish your answer, Mr. Jones.

                                             -57-


                                       156
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 147 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                       Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10           Filed: 07/27/2022         Page63
                                                                      Pages:   398 of 992




         1                     THE DEFENDANT:     His girlfriend kept on
         2     calling me, talking about how she pregnant, how she
         3     pregnant, how Sean can•t go to jai l for t his shit, excuse
         4     my language.     How Sean can't go to jail for this.        How
         5     she know -- you got to go and take the wrap for.Sean.
         6                     Sean been looking out for me.       He been doing
         7     odds -- he been doing odd kind of stuff for me, anyway.
         8     He been -- he been buying me clothes.         He been --
         9     friendship-type stuff.        He been buying me clothes.      He
        10     been filling up the gas tank.         He been -- we kick it
        11     every day.     We hang out every day.      Either I let him take
        12     at the time what I'm thinking like 30 years in jail where
        13     I take       where I take two, three years .
        14                     Both of us just been down a nice piece of
        15     time.    This is the only thing -- you all see -- you all
        16     see clearly that the police -- the police seen him -- the
        17     police seen him -- the police seen him jump up the curb .
        18     I 1 m sitti ng r ight here.    The police seen him jump out the
        19     car.    The people wa lking down the street seen him jump

        20     out the car.     They all know I am lying.       The detectives
        21     knew I was lying during the interview.         They knew it.
        22   BY MR. STnlGL:

        23        Q     Then why did you lie?
        24        A      Because if i t's only two or three years -- two or
        25   three years I could do that.        I' m been in the county jail

                                              -58-


                                        157
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 148 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   399 of 992




         1   for 20 months.
         2         Q    And all of that was going through your mind when

         3   you're talking to the detectives?
         4        A     All this going through my mind from the time --
         5        Q     I'm asking you --
         6        A     From the time --
         7        Q     No.     Ilm asking you all of this t hat you just
         8   stated and the Court let you talk, all of that was going
         9   through your mind when you're t aking the wrap and giving
        10   this statement; yes or no?
        11        A     No.     It's going through my mind prior to thi s and
        12   duri ng the statement.
        13        Q     So then during the statement, you carried out
        14   your plan to take the wrap for Sean Moore?
        15        A     Yeah.
        16        Q     You knew what you were doing?
        17        A     That was a question?
        18                      THE COURT:   That was a questi on.       Answer the
        19     question.
        20                      THE DEFENDANT:       Yeah.   Yes, yes.
        21   BY MR. STINGL:

        22        Q     Two-and-a-hal f weeks the police were looking for
        23   you after December 31st, correct?
        24        A     Yes.
        25        Q     And you knew the polic e were looki ng for you,

                                              -59-


                                        158
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 149 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   400 of 992




         1   correct?
         2        A     Yes.
         3        Q     And you ran outside of Milwaukee County to get
         4   away, didn't you?
         5                     MR. JENSEN:     Objection.    Relevance.

         6                     MR. STINGL:     It goes to his state of mind.

         7                     THE COURT:    Overruled for now.

         8                     You can answer, sir.
         9   BY MR. STINGL:

        10        Q     Correct?
        11        A     What was the question?
        12        Q     You ran from the police, correct?
        13        A     Yes.
        14        Q     How far did you get?
        15                     MR. JENSEN:     Objection.    Relevance.
        16                     THE CCORT:    I presume it's the same

        17     explanation.     Overruled.
        18                     MR. JENSEN:     Well, it is except we know that
        19     he ran from the police.       I don't think it's rel evant

        20     where he ran to.
        21                     THE CCORT:    It may or may not be .

        22     Overruled.      I'll cut it off if it goes too far .
        23                      You can answer, Mr. Jones, please.
        24                     THE DEFENDANT:      I ran t o Green Bay.
        25   BY MR. STINGL:

                                               -60-


                                         159
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 150 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   401 of 992




        1             Q   Stopped in Sheboygan for awhile, correct?
        2             A   Yes.
        3             Q   Made it to Green Bay.      And during that t ime, did
        4    you ever try- t o contact an attorney?
        5             A   Yes.
        6             Q   How did you try t o contact an attorney?
        7             A   Through the telephone but I had no money.
        B             Q   And so the fact that you had no money, you knew
        9    that you could call a public defender, correct?
       10             A   No.    I di dn't know t hat.

       11             Q   Well, you knew i t when you gave the statement to
       12    the police, correct?
       13             A   The pol i ce told me -- when they tol d me during
       14    the interview -- I didn't know when I could cal l them when
       15    I was on t he run.
       16             Q   You did not know t hat before getting arrested you
       17    could call attorneys?
       18             A   Public defender I did not know that.
       19             Q   That's somethi ng you l earned during the rights
       20    that they read to you?
       21             A   I'm just now learning t hat.     You' r e t e l ling me
       22    t his.
       23             Q   Then why did you ask for a publi c pretender,
       24    according t o you?
       25             A   Be cause I thought t hat you could get one during

                                              -61-


                                           160
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 151 of 742 Document 8-3
Johnny Jerome Jones v. Reed Richardson,                        Exhibits to Habeas Answer
No. 16-C-712
        Case:(E.D. Wis.)
               22-2084   Document: 10            Filed: 07/27/2022         Page63
                                                                       Pages:   402 of 992




        1    the course of the interview.
        2           Q    So you understood the rights as they were read to
        3    you?
        4           A    That's the reason why -- that's the reason why I
        5    ask that I get one, a public pretender.
         6          Q    So the answer to my questi on did you understand
        7    the rights read to you is what, yes or no?           Did you
        8    understand those rights?
         9          A    Yes.

       10                       MR. STINGL:    I don't have any further
       11      questions.
       12                       THE COURT:    Any follow up?
       13                       MR. JENSEN:    No.
       14                       THE COURT:    Fine.
       15                       The defense rests?
       16                       MR. JENSEN:    Yes .
       17                       THE COURT:    State have any rebuttal?
       18                       MR. STINGL:    No .
       19                       THE CJURT:    The way I see it, we can dispose
       20      of t he issues about the ecstasy pills; whet her the
       21      defendant was under the inf luence, and t he conment about
       22      whether he could or could not get 15 years in prison

       23      today .
       24                       I'll set over for a week a short briefing
       25      schedule on the issue of the comment about the 29-minute

                                              -62-


                                         161
     Case 2:16-cv-00712-BHL Filed 08/22/16 Page 152 of 742 Document 8-3
